                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                       CRIMINAL DOCKET NO.: 5:08CR21-V

UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                   SEQUESTRATION
                                          )                      ORDER
                                          )
ABDULLAH FAKIH,                           )
                  Defendant.              )                        Rule 615
                                          )                  Federal Rules of Evidence
_________________________________________ )

       IT IS, HEREBY, ORDERED that any person who will be or may become a witness in this

case (except those excluded by Rule 615) is prohibited from being in the courtroom or within hearing

of it during the trial of this matter except at the time of his or her own testimony. All witnesses in

this case are ordered also not to talk about prior testimony with any witness or other person who has

been in the courtroom during testimony. All witnesses are further ordered not to talk with anyone

who will be or may become a witness about any subject related to this trial. The attorneys in this

case are ordered to relay the contents of this order to their own witnesses and are further ordered to

scan the courtroom periodically to facilitate removal of such witnesses if any of them have

inadvertently come into the courtroom. The lawyers are further ordered not to divulge the content

of testimony already given in this case to any prospective witness.


                                                 Signed: January 13, 2009




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